                             Case 05-27271      Doc 21      Filed 09/06/05       Page 1 of 1

                                    UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF MARYLAND
                                          BALTIMORE DIVISION

                                  Case No.: 05−27271 − JS         Chapter: 7

   Dana L. Bonkowski

                                                     Dated: 9/6/05

Dear Sir/Madam:

    In keeping with the practice of this office, we are hereby notifying you that the parties listed below have not
received a copy of the following:

                                                                 341 meeting notice
                                                                 Notice of Hearing
                                                                 Order
due to the following reasons:

                                                                 Insufficient/incomplete address on mailing matrix
                                                                 Returned, undeliverable
                                                                 Forwarding order expired

   In compliance with Local Bankruptcy Rules 1007−1 and 1007−3, it is the responsibility of the debtor to
provide current mailing addresses for creditors listed on the petition. The address provided to the court is incorrect
and cannot be used for future noticing purposes. Please submit an amendment to your matrix and a certification of
completed mailing of the above−noted document to guarantee that due process is served.

Insufficient addressee(s):

Toyota Motor Credit
Po Box 8029
Cockeysville, MD 21030

                                                             Sincerely,

                                                             rbrown
                                                             Deputy Clerk
